     Case 3:18-cv-00361-JLS-DEB Document 185 Filed 11/06/20 PageID.2218 Page 1 of 2



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     MYCHAL ANDRA REED,                                Case No.: 18-cv-00361-JLS (DEB)
12                                      Plaintiff,
                                                         ORDER DENYING PLAINTIFF’S
13     v.                                                MOTION FOR LAW LIBRARY
                                                         ACCESS AS MOOT
14     DANIEL PARAMO, et al.,
15                                   Defendants.         [DKT. NOS. 176, 184]
16
17          Before the Court are Plaintiff’s “Declaration(s)” requesting “actual law library”
18    access. Dkt. Nos. 176, 184. The Court construes Plaintiff’s Declarations as a motion to
19    compel access to the law library. Defendants responded that physical library access at the
20    Richard J. Donovan Correctional Facility (RJDCF), where Plaintiff is incarcerated,
21    “resumed in early October, 2020.” Dkt. No. 180 at 3. Defendants also claim “Plaintiff
22    received physical library access at noon on October 9, 2020.” Id. at 3. In light of these
23    representations, the Court DENIES Plaintiff’s Motion as moot.
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     Case 3:18-cv-00361-JLS-DEB Document 185 Filed 11/06/20 PageID.2219 Page 2 of 2



 1          The Court requests, however, that Defendants provide Plaintiff with physical law
 2    library access to the maximum extent that is permitted under RJDCF’s policies and
 3    procedures and consistent with its administrative operations.
 4          IT IS SO ORDERED.
 5    Dated: November 6, 2020
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